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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.:

  UNITED STATES OF AMERICA,

               Plaintiff,

  vs.

  REAL PROPERTY LOCATED AT
  900 BISCAYNE BLVD UNIT #6107,
  MIAMI, FLORIDA 33132,

              Defendant In Rem.
  _______________________________________/

                            CIVIL COMPLAINT COVER SHEET

  1.    Did this matter originate from a matter pending in the Northern Region of the United States
        Attorney’s Office prior to October 14, 2003?          Yes X No


  2.    Did this matter originate from a matter pending in the Central Region of the United States
        Attorney’s Office prior to September 1, 2007?        Yes X No

                                      Respectfully submitted,

                                      DEBORAH CONNOR, CHIEF
                                      MONEY LAUNDERING & ASSET RECOVERY
                                        SECTION

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                                      Shai D. Bronshtein, Trial Attorney
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                                ARIANA FAJARDO ORSHAN
                                UNITED STATES ATTORNEY

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